          Case 2:19-cr-00313-SVW UNITED
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                                        STATES       08/10/21
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                                                          COURT
                                                     CENTRAL DISTRICT OF CALIFORNIA


                                                          CRIMINAL MINUTES - TRIAL

 Case No.           2:19-cr-00313-SVW                                                                                     Date          August 10, 2021

 Present: The Honorable           STEPHEN V. WILSON, U.S. DISTRICT JUDGE

 Interpreter        N/A

                                                                                                                                   David T. Ryan
                  Paul M. Cruz                                       Anne Kielwasser                                            Reema M. El-Amamy
                  Deputy Clerk                                   Court Reporter/Recorder                                        Assistant U.S. Attorney



                  U.S.A. v. Defendant(s):                        Present    Cust.      Bond              Attorneys for Defendants:             Present      App. Ret.

Mark Steven Domingo                                                 X        X                  David I. Wasserman, DFPD                            X        X
                                                                                                Lisa S. LaBarre                                     X        X




         Day COURT TRIAL                                           4th     Day JURY TRIAL                                           Death Penalty Phase

         One day trial;              Begun (1st day);                Held & continued;                  Completed by jury verdict/submitted to court.

         The Jury is impaneled and sworn.

         Opening statements made by

  X      Witnesses called, sworn and testified.

         Exhibits identified                                               Exhibits admitted
         Government rests.                            X       Defendant(s)                                                                                          rest.

            Motion for mistrial by                                                      is              granted                   denied                  submitted

                     Motion for judgment of acquittal (FRCrP 29)                        is              granted                   denied                  submitted

  X      Closing arguments made                  X        Court instructs jury                      X        Bailiff sworn

  X      Clerk reviewed admitted               exhibits with counsel to be submitted to the Jury/Court for deliberations/findings.

         Alternates excused                    X          Jury retires to deliberate                         Jury resumes deliberations

         Finding by Court as follows:                                                          Jury Verdict as follows:

 Dft #                    Guilty on count(s)                                                   Not Guilty on count(s)

         Jury polled                                                       Polling waived

         Filed Witness & Exhibit lists                          Filed Jury notes                  Filed Jury Instructions                    Filed Jury Verdict

         Dft #              Referred to Probation Office for Investigation & Report and continued to                                                    for sentencing.

         Dft #               remanded to custody.                   Remand/Release#                       issd.           Dft #             released from custody.

         Bond exonerated as to Dft #

  X      Case continued to            August 11, 2021 at 9:00 a m.               for further trial/further jury deliberation.
         Other:
                                                                                                                                    6           :          49
                                                                                               Initials of Deputy Clerk                      PMC


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